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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 SUBHASH PATEL, Individually and On                   Case No.
 Behalf of All Others Similarly Situated,

                                   Plaintiff,         CLASS ACTION COMPLAINT

                        v.
                                                      JURY TRIAL DEMANDED
 KONINKLIJKE PHILIPS N.V., FRANS
 VAN HOUTEN, and ABHIJIT
 BHATTACHARYA,

                                   Defendants.


       Plaintiff Subhash Patel (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Koninklijke Philips N.V. (“Philips” or the “Company”), analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Philips securities between



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February 25, 2020 and June 11, 2021, both dates inclusive (the “Class Period”), seeking to recover

damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Philips operates as a health technology company in North America, Greater China,

and internationally. The Company’s products include, among others, Bi-Level Positive Airway

Pressure (“Bi-Level PAP”) and Continuous Positive Airway Pressure (“CPAP”) devices, as well

as mechanical ventilators. Bi-Level PAP machines pump air under pressure into the airway of the

lungs. Bi-Level PAP machines have a higher pressure when users breathe in and lower pressure

when users breathe out. CPAP machines keep users’ airway open by providing a continuous

stream of air through a mask. CPAP machines are devices prescribed to people with obstructive

sleep apnea to keep their airways open during sleep. Bi-Level PAP and CPAP machines use

Polyester-based polyurethane (PE-PUR), a sound abatement foam, to reduce sound and vibration.

       3.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Philips had

deficient product manufacturing controls or procedures; (ii) as a result, the Company’s Bi-Level

PAP and CPAP devices and mechanical ventilators were manufactured using hazardous materials;

(iii) accordingly, the Company’s sales revenues from the foregoing products were unsustainable;

(iv) the foregoing also subjected the Company to a substantial risk of a product recall, in addition

to potential legal and/or regulatory action; and (v) as a result, the Company’s public statements

were materially false and misleading at all relevant times.




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       4.      On June 14, 2021, Philips issued a voluntary recall of certain of its Bi-Level PAP

and CPAP devices, as well as mechanical ventilators, after finding that the sound abatement foam

used in the devices can degrade and become toxic, potentially causing cancer.

       5.      On this news, Philips’ stock price fell $2.25 per share, or 3.98%, to close at $54.25

per share on June 14, 2021.

       6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       7.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       9.      Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Pursuant to Philips’ most recent Annual Report, as

of December 31, 2020, there were 905,128,293 of the Company’s common shares outstanding.

Accordingly, there are presumably hundreds, if not thousands, of investors in Philips’ securities

located within the U.S., some of whom undoubtedly reside in this Judicial District.

       10.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.




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                                               PARTIES

         11.      Plaintiff, as set forth in the attached Certification, acquired Philips securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

         12.      Defendant Philips is organized under the laws of the Netherlands with principal

executive offices located at Breitner Center, Amstelplein 2, 1096 BC Amsterdam, the Netherlands.

The Company’s common shares trade in an efficient market on the New York Stock Exchange

(“NYSE”) under the ticker symbol “PHG”.

         13.      Defendant Frans van Houten (“Houten”) has served as Philips’ Chief Executive

Officer and Chairman of the Board of Management and the Executive Committee at all relevant

times.

         14.      Defendant Abhijit Bhattacharya (“Bhattacharya”) has served as Philips’ Chief

Financial Officer and a Member of the Board of Management and the Executive Committee at all

relevant times.

         15.      Defendants Houten and Bhattacharya are sometimes referred to herein as the

“Individual Defendants.”

         16.      The Individual Defendants possessed the power and authority to control the

contents of Philips’ SEC filings, press releases, and other market communications. The Individual

Defendants were provided with copies of Philips’ SEC filings and press releases alleged herein to

be misleading prior to or shortly after their issuance and had the ability and opportunity to prevent

their issuance or to cause them to be corrected. Because of their positions with Philips, and their

access to material information available to them but not to the public, the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to and were being concealed




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from the public, and that the positive representations being made were then materially false and

misleading. The Individual Defendants are liable for the false statements and omissions pleaded

herein.

          17.    Philips and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

                                            Background

          18.    Philips operates as a health technology company in North America, Greater China,

and internationally. The Company’s products include, among others, Bi-Level PAP and CPAP

devices, as well as mechanical ventilators. Bi-Level PAP machines pump air under pressure into

the airway of the lungs. Bi-Level PAP machines have a higher pressure when users breathe in and

lower pressure when users breathe out. CPAP machines keep users’ airway open by providing a

continuous stream of air through a mask. CPAP machines are devices prescribed to people with

obstructive sleep apnea to keep their airways open during sleep. Bi-Level PAP and CPAP

machines use Polyester-based polyurethane (PE-PUR), a sound abatement foam, to reduce sound

and vibration.

          Materially False and Misleading Statements Issued During the Class Period

          19.    The Class Period begins on February 25, 2020, when Philips filed an Annual Report

on Form 20-F with the SEC, reporting the Company’s financial and operating results for the quarter

and year ended December 31, 2019 (the “2019 20-F”). For 2019, Defendants reported net income

of $1.167 billion, or $1.26 per diluted share, on revenue of $19.481 billion.

          20.    In a section containing a letter from Defendant Houten to Philips’ shareholders, the

2019 20-F stated, in relevant part:




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        As we step up our transformation, we continue to be guided by our three-pronged
        strategic roadmap: Better serve customers and improve quality; Boost growth in
        core business; Win with solutions along the health continuum. We are making
        steady progress on our commitment to quality and operational excellence, as
        demonstrated by improving quality indicators, customer Net Promoter Scores and
        lower waste. The standardization and digitalization of internal processes, levering
        the Philips Integrated IT landscape, is leading to higher productivity and agility.
        Our continued focus on boosting growth in the core has delivered market share
        expansion in the Diagnosis & Treatment segment in particular. Revenues from
        solutions, long-term contracts and service business models – including new
        business models, such as software-as-a-service, pay-per-user and technology
        managed services – now stand at over one third of sales.

(Emphasis in original.)

        21.       Further, in a section discussing the Company’s strategy and business, the 2019 20-

F stated, in relevant part:

        With our global reach, deep clinical and technological insights and innovative
        strength, we are uniquely positioned in ‘the last yard’ to consumers and care
        providers, delivering:

              •   connected products and services supporting the health and well-being of
                  people
              •   integrated modalities and clinical informatics to deliver precision diagnosis
              •   real-time guidance and smart devices for minimally invasive interventions
              •   connected products and services for chronic care.

In that same section, the 2019 20-F listed “[b]etter serve customers and improve quality” as one

of the Company’s “key strategic imperatives and value creation objectives,” and stated that this

imperative was driven by “[i]mprov[ing] customer experience, quality systems, operational

excellence and productivity.”

        22.       In addition, in discussing how the Company creates value, the 2019 20-F listed

manufacturing as one of the six forms of capital that Philips “draws upon for its business

activities,” stating, in relevant part, “[w]e apply Lean techniques to our manufacturing processes

to produce high-quality products. We manage our supply chain in a responsible way.”




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        23.       Moreover, in discussing the Company’s Connected Care businesses, the 2019 20-

F stated, in relevant part:

        Spanning the entire health continuum, the Connected Care businesses are tasked
        with improving patient outcomes, increasing efficiency and enhancing patient and
        caregiver satisfaction, thereby driving towards value-based care. Our solutions
        build on Philips’ strength in verticals (monitoring & analytics, sleep & respiratory
        care, and therapeutic care) and horizontals (population health management and
        connected care informatics) to improve clinical and economic outcomes in all care
        settings, within and outside the hospital.

        Philips has a deep understanding of clinical care and the patient experience that,
        when coupled with our consultative approach, allows us to be an effective partner
        for transformation, both across the enterprise and at the level of the individual
        clinician. Philips delivers services that take the burden off hospital staff with
        optimized patient and data flow, predictive analytics, improved workflow,
        customized training and improved accessibility across our application landscape.

                                                ***

              •   Sleep & Respiratory Care: Sleep offerings span from consumer sleep
                  solutions, including those for disease-state sleep such as obstructive sleep
                  apnea, to end-to-end solutions that encompass consumer engagement,
                  diagnostics, people-centric therapy, cloud-based connected propositions
                  and care management services. Respiratory offerings include COPD care
                  management with digital and connected solutions; Hospital Respiratory
                  Care (HRC) provides invasive and non-invasive ventilators for acute and
                  sub-acute hospital environments; Home Respiratory Care supports the
                  home care environment.

        24.       Finally, the 2019 20-F touted Philips’ quality and regulatory compliance with

respect to the Company’s product design and manufacturing, stating, in relevant part:

        Philips is committed to delivering the highest quality products, services and
        solutions compliant with all applicable laws and standards. We are investing
        substantially in embedding quality in our organizational culture. We will continue
        to raise the performance bar. Quality is an integral part of the evaluation of all levels
        of management. With consistency of purpose, top-down accountability,
        standardization, leveraging continuous improvement we aim to drive greater speed
        in the adoption of a quality mindset throughout the enterprise.

                                                ***




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        Philips actively maintains Quality Systems globally that establish standards for
        its product design, manufacturing and distribution processes; these standards are
        in compliance with Food and Drug Administration (FDA)/International
        Organization for Standardization (ISO) requirements. Our businesses are subject
        to compliance with regulatory pre-marketing and quality system requirements in
        every market we serve, and to specific requirements of local and national regulatory
        authorities including the US FDA, the European Medicines Agency (EMA), the
        National Medical Products Administration (NMPA) in China and comparable
        agencies in other countries. We also must comply with the European Union’s Waste
        from Electrical and Electronic Equipment (WEEE), Restriction of Hazardous
        Substances (RoHS) and Registration, Evaluation, Authorization and Restriction of
        Chemicals (REACH), Energy-using Products (EuP) and Product Safety
        Regulations.

(Emphasis added).

        25.      Appended to the 2019 20-F as exhibits were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “[t]he [2019 20-

F] fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act

of 1934 and information contained in the [2019 20-F] fairly presents, in all material respects, the

financial condition and results of operations of the Company.”

        26.      On April 14, 2020, Philips issued a press release entitled, “Philips details plans to

increase its hospital ventilator production to 4,000 units/week by Q3 2020, and introduces its new

Philips Respironics E30 ventilator with an immediate production of 15,000 units/week.” The press

release stated, in relevant part:

        •     Company introduces the Philips Respironics E30 ventilator, a versatile and
              easy-to-use ventilator to treat patients with respiratory insufficiency, designed
              for large scale production

                                                ***

        Amsterdam, the Netherlands – [Philips] today provided an update on its plans to
        double the production of its hospital ventilators by May 2020 and achieve a four-
        fold increase by the third quarter of 2020. This plan builds on Philips’ initial
        production increase in the first three months of the year, which already enabled the
        supply of additional ventilators – that are critical for the treatment of COVID-19
        patients – to hospitals in the most affected regions in China, southern Europe and



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       the US. To further address the huge global demand, Philips introduced its new
       Philips Respironics E30 ventilator, a versatile and easy-to-use non-invasive and
       invasive ventilator, which has been designed for large scale production.

       “In line with Philips’ mission, we are fully committed to helping as many healthcare
       providers as possible diagnose, treat and monitor the growing numbers of COVID-
       19 patients,” said Frans van Houten, CEO of Royal Philips. “We have been
       mobilizing as a company to do so since January. The collaboration with our trusted
       partners Flex and Jabil will rapidly expand our hospital ventilator production
       capacity, and reinforce the supply chain to enable the ramp up to a production of
       4,000 hospital ventilators per week by the third quarter. To complement this, our
       team has developed the new Philips Respironics E30 ventilator, which can be safely
       used when there is limited access to a fully featured critical care ventilator. The
       Philips Respironics E30 ventilator can deliver a range of treatment options, and we
       will quickly scale its production to 15,000 units per week in April.”

                                               ***

       Introduction of Philips Respironics E30 for emergency use to fill the critical
       hospital ventilation shortage
       To further address the pressing need for critical care ventilators, Philips has been
       working closely with leading respiratory physicians and medical device regulators
       in the U.S. and other countries to develop a readily available ventilator that fills the
       critical hospital ventilation shortage.

       Designed for large scale production by a team deeply experienced in respiratory
       care, the Philips Respironics E30 ventilator is optimized to treat patients with
       respiratory insufficiency. This easy-to-use ventilator offers quick set-up and simple
       operations allowing healthcare providers with a wide range of skill sets to treat and
       monitor patients. The Philips Respironics E30 can be used non-invasively, as well
       as invasively, offering the flexibility to adapt to the treatment needs of patients with
       COVID-19.

       27.     On April 20, 2020, Philips issued a press release announcing the Company’s Q1

2020 results. The press release stated, in relevant part:

       Comparable sales in the Connected Care businesses increased 7%, with double-
       digit growth in Sleep & Respiratory Care. Comparable order intake showed a very
       strong double-digit increase, driven by strong demand for patient monitors and
       hospital ventilators. The Adjusted EBITA margin increased to 9.8%, mainly due to
       growth and productivity.

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              •   To further address the unprecedented demand for ventilators, Philips
                  introduced the Philips Respironics E30 ventilator for emergency use when
                  a fully featured critical care ventilator is not available. Philips is targeting a
                  production of the new ventilator - which has been designed for large-scale
                  production - of 15,000 units per week in April.

        28.       That same day, Philips hosted an earnings call with investors and analysts to discuss

 the Company’s Q1 2020 results (the “Q1 2020 Earnings Call”). During the scripted portion of the

 Q1 2020 Earnings Call, Defendant Houten stated, in relevant part:

        To further address the strong global demand in hospital ventilation, we are rolling
        out our new Philips Respironics E30 ventilator, a versatile and easy-to-use
        ventilator for emergency use where there is limited access to a fully featured critical
        care ventilator. The E30 has been designed for large-scale production and will scale
        to 15,000 units per week in April. With the strong demand to expand ICU bed
        capacity, we are also working to significantly increase the production volume of
        patient monitors.

        29.       On July 20, 2020, Philips issued a press release announcing the Company’s Q2

 2020 results. The press release stated, in relevant part:

        Comparable sales in the Connected Care businesses increased 14%, with double-
        digit growth in Sleep & Respiratory Care and mid- single-digit growth in
        Monitoring & Analytics. Comparable order intake more than doubled, driven by
        strong demand for patient monitors and hospital ventilators. The Adjusted EBITA
        margin increased to 17.8%, as additional investments to ramp up production were
        more than offset by operating leverage.

        30.       That same day, Philips hosted an earnings call with investors and analysts to discuss

 the Company’s Q2 2020 results (the “Q2 2020 Earnings Call”). During the scripted portion of the

 Q2 2020 Earnings Call, Defendant Bhattacharya stated, in relevant part, “[t]he sales of the

 Connected Care businesses grew a robust 14% in the second quarter. Sleep and respiratory care

 sales grew double-digit due to strong shipments of respiratory devices.”

        31.       On October 19, 2020, Philips issued a press release announcing the Company’s Q3

 2020 results. The press release stated, in relevant part:




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         Comparable sales in the Connected Care businesses increased 42%, with double-
         digit growth in Monitoring & Analytics and Sleep & Respiratory Care. Excluding
         the partial termination of the ventilator contract with HHS, comparable order intake
         showed a double-digit increase, with strong growth across all businesses. The
         Adjusted EBITA margin increased to 27.1%, driven by higher volumes and
         operating leverage.

         32.      That same day, Philips hosted an earnings call with investors and analysts to discuss

 the Company’s Q3 2020 results (the “Q3 2020 Earnings Call”). During the scripted portion of the

 Q3 2020 Earnings Call, Defendant Houten stated, in relevant part, “Connected Care grew a very

 strong 42% in the quarter, driven by the high volume of shipments to fulfill the order for patient

 monitors and respiratory care.”

         33.      On November 4, 2020, Philips issued a press release entitled, “Philips expands its

 home care portfolio for COPD patients with first-of-its-kind non-invasive ventilator.” The press

 release stated, in relevant part:

         •     Connected BiPAP A40 EFL ventilator is the first to help healthcare
               professionals screen, detect, and abolish expiratory flow limitation to reduce
               work of breathing in COPD patients with abnormally elevated blood carbon
               dioxide levels
         •     BiPAP A40 EFL leverages Philips leading connected solution platform to
               streamline diagnostic work through integration to Philips Alice sleep lab and
               home diagnostic systems

         [Philips] today announced the launch of Philips Ventilator BiPAP A40 EFL. With
         the introduction of this non-invasive ventilator, Philips extends its homecare
         solutions with a new ventilation therapy feature for chronic obstructive pulmonary
         disease (COPD) patients to breathe easier. Now, pulmonologists can identify
         COPD patients with expiratory flow limitation (EFL) and treat them with targeted
         therapy to reduce symptoms and increase their comfort while sleeping. The BiPAP
         A40 EFL ventilator continuously and optimally adjusts pressure based on patient
         needs.

         BiPAP A40 EFL is the first and only non-invasive ventilator that allows health care
         professionals to automatically screen for and detect EFL, then provide optimal
         homecare therapy to dynamically and automatically abolish EFL [1]. This helps to
         reduce the patient’s work of breathing. Built with Philips proprietary and clinically
         validated ExpiraFlow technology, BiPAP A40 EFL is designed to connect across




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        the care pathway – from diagnostic work to point of care therapy – to enable
        informed clinical decisions and optimize ventilation therapy, even remotely.

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        “ExpiraFlow Technology represents a shift in the paradigm of ventilator COPD
        management toward more personalized therapy, which automatically optimizes
        ventilation to the individual needs of the patient,” said Peter Calverley, Professor
        of Respiratory Medicine, School of Aging and Chronic Disease at the University
        of Liverpool. “By monitoring the presence of EFL on a breath-by-breath basis, the
        A40 EFL system can automatically adjust therapy pressures to ensure efficient lung
        emptying and better gas exchange. This new focus allows us to consider individual
        differences in lung mechanics and gas exchange when managing complex
        respiratory patients.”

                                               ***

        The BiPAP A40 EFL leverages Philips leading connected solution platform to
        streamline diagnostic work through integration to Philips Alice sleep lab and home
        diagnostic systems. When prescribed and used in the home, the BiPAP A40 EFL
        connects to Philips Care Orchestrator cloud-based care management system. By
        making it easier to analyze and share information [4], this connectivity enables
        providers to make faster, more informed clinical decisions, and identify and
        prioritize patients who are in need of therapy intervention to better manage chronic
        respiratory patient care from hospital to home.

        34.     On January 25, 2021, Philips issued a press release announcing the Company’s Q4

 and full year 2020 results. The press release stated, in relevant part:

        Comparable sales in the Connected Care businesses increased 24% in the quarter,
        with double-digit growth in Monitoring & Analytics and Sleep & Respiratory Care.
        Comparable order intake showed a 17% increase, with strong growth across all
        businesses. The Adjusted EBITA margin increased to 27.2%, due to operating
        leverage and productivity programs. For the full year, the Connected Care
        businesses delivered 22% comparable sales growth and an Adjusted EBITA margin
        of 21.5%.

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        Philips’ ongoing focus on innovation and partnerships resulted in the following key
        developments in the quarter and the year:

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              •   Expanding its range of patient-centric solutions for the home, Philips
                  launched the BiPAP A40 EFL non-invasive ventilator. With this
                  introduction, Philips is extending its respiratory care solutions with a new
                  ventilation therapy feature to treat COPD patients with expiratory flow
                  limitation (EFL) with targeted therapy to reduce symptoms and increase
                  their comfort while sleeping.

        35.       That same day, Philips hosted an earnings call with investors and analysts to discuss

 the Company’s Q4 2020 results (the “Q4 2020 Earnings Call”). During the scripted portion of the

 Q4 2020 Earnings Call, Defendant Houten stated, in relevant part:

        [. . .] I am pleased that we have recorded comparable sales growth of 7% in Q4.
        Connected Care grew a very strong 24%, driven by the demand for patient monitors
        and respiratory care. Our Diagnosis & Treatment businesses delivered encouraging
        sequential improvement and returned to growth with a 1% comparable sales
        increase. Sales for Personal Health grew a solid 5%.

        Comparable equipment order intake grew 7% in Q4, with double-digit growth in
        Connected Care and 3% growth in Diagnosis & Treatment. This was driven by
        strong demand for our patient monitors, hospital ventilators, radiology informatics,
        computed tomography, x-ray and ultrasound systems.

                                                ***

        Now I would like to provide some color on some of our initiatives to respond to
        customer needs and support healthcare professionals and consumers. In the quarter,
        we expanded our range of patient-centric solutions for the home with the launch of
        the BiPAP A40 non-invasive ventilator. With this introduction, we extend our
        respiratory care solutions with a new ventilation therapy feature to treat COPD
        patients with expiratory flow limitation, or EFL.

        Our unique ExpiraFlow technology detects EFL more accurately and automatically
        optimizes ventilation to the individual needs of the patient. This enables more
        effective treatment of patients at home and ultimately avoids hospital readmissions.

 Further, also during the scripted portion of the Q4 2020 Earnings Call, Defendant Bhattacharya

 stated, in relevant part, “[i]n the full year, comparable sales for Connected Care grew 22% with

 double-digit growth in both Monitoring & Analytics and Sleep & Respiratory Care. Order intake

 for Connected Care grew strong double digits in the full year.”




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        36.     On February 23, 2021, Philips filed an annual report on Form 20-F with the SEC,

 reporting the Company’s financial and operating results for the quarter and year ended December

 31, 2020 (the “2020 20-F”). For 2020, Defendants reported net income of $1.187 billion, or $1.29

 per diluted share, on revenue of $19.535 billion.

        37.     In a section containing a letter from Defendant Houten to Philips’ shareholders, the

 2020 20-F stated, in relevant part:

        In 2020, Philips again demonstrated its relevance in bringing meaningful
        innovation to improve people’s health and well-being, as we responded to the
        COVID-19 pandemic. As a company, we continue to focus on delivering against
        our triple duty of care – meeting critical customer needs, safeguarding the health
        and safety of our employees, and ensuring business continuity.

                                               ***

        The developments of the past year validate our strategy to innovate the provision
        of care along the health continuum – putting the patient at the center, improving
        diagnosis and treatment pathways, enabling the integration of care across care
        settings, and increasing care provider productivity. At the same time, we help
        consumers to live healthier lifestyles and to cope with chronic disease. Increasingly,
        we are able to connect home and hospital care through telehealth platforms. This
        approach is resonating more strongly than ever.

        Customers appreciate the comprehensive and strategic view we take of the future
        of health and healthcare. They want innovative solutions – smart combinations of
        systems, devices, informatics, data and services – that can help them deliver on the
        Quadruple Aim of better health outcomes, improved patient experience, improved
        staff experience, and lower cost of care. Given the learnings from COVID-19, they
        are especially keen to discover how we can support care outside the hospital.

                                               ***

        Our Connected Care businesses posted exceptional growth, fueled by COVID-19-
        related demand for our hospital ventilation and monitoring & analytics solutions.

                                               ***

        We aim to drive customer preference by getting even closer to our customers and
        consumers, making Philips easier to do business with, and further improving our
        quality, operational excellence and productivity. To do this, we are driving the
        digital transformation in every area of our business, leveraging our integrated IT



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         landscape – from the way we connect and engage with our customers and
         consumers to seamlessly connecting our solutions, e.g. to enable remote servicing
         and upgrades.

         38.       Further, in discussing the Company’s Connected Care businesses, the 2020 20-F

 stated, in relevant part:

         Spanning the entire health continuum, the Connected Care businesses help broaden
         the reach and deepen the impact of healthcare with solutions that leverage and unite
         devices, informatics, data and people across networks of care, to enable our
         customers to deliver on the Quadruple Aim – better health outcomes, improved
         patient experience, improved staff experience, and lower cost of care.

                                                  ***

               •   Sleep & Respiratory Care: Philips’ cloud-based sleep and respiratory
                   patient management solutions enable the care of more than 10.5 million
                   connected patients, driving adherence, reimbursement and remote patient
                   management. From consumer sleep solutions, including those for disease-
                   state sleep such as obstructive sleep apnea, to end-to-end solutions that
                   encompass consumer engagement, diagnostics, people-centric therapy,
                   cloud-based connected propositions and care management services. The
                   COVID-19 crisis has put respiratory care at the top of the list for delivering
                   critical and chronic care to patients. Respiratory offerings include COPD
                   (Chronic Obstructive Pulmonary Disease) care management, with digital
                   and connected solutions; Hospital Respiratory Care provides invasive and
                   non-invasive ventilators for acute and sub-acute hospital environments;
                   Home Respiratory Care supports chronic care management in the home.

 In addition, the 2020 20-F contained substantive similar statements regarding the Company’s

 manufacturing capabilities, product design quality, and regulatory compliance as discussed, supra,

 in ¶¶ 20-24.

         39.       Appended to the 2020 20-F as exhibits were signed certifications pursuant to SOX

 by the Individual Defendants, attesting that “[t]he [2020 20-F] fully complies with the

 requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 and information

 contained in the [2020 20-F] fairly presents, in all material respects, the financial condition and

 results of operations of the Company.”




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        40.     The statements referenced in ¶¶ 19-39 were materially false and misleading because

 Defendants made false and/or misleading statements, as well as failed to disclose material adverse

 facts about the Company’s business, operations, and compliance policies.               Specifically,

 Defendants made false and/or misleading statements and/or failed to disclose that: (i) Philips had

 deficient product manufacturing controls or procedures; (ii) as a result, the Company’s Bi-Level

 PAP and CPAP devices and mechanical ventilators were manufactured using hazardous materials;

 (iii) accordingly, the Company’s sales revenues from the foregoing products were unsustainable;

 (iv) the foregoing also subjected the Company to a substantial risk of a product recall, in addition

 to potential legal and/or regulatory action; and (v) as a result, the Company’s public statements

 were materially false and misleading at all relevant times.

                                         The Truth Emerges

        41.     On June 14, 2021, Philips issued a voluntary recall of certain of its Bi-Level PAP

 and CPAP devices, as well as mechanical ventilators, after finding that the sound abatement foam

 used in the devices can degrade and become toxic, potentially causing cancer. Specifically, in a

 press release announcing the recall, Philips stated, in relevant part:

        Amsterdam, the Netherlands – Following the company update on April 26, 2021,
        [Philips] today provides an update on the recall notification* for specific Philips
        Bi-Level Positive Airway Pressure (Bi-Level PAP), Continuous Positive Airway
        Pressure (CPAP), and mechanical ventilator devices to address identified potential
        health risks related to the polyester-based polyurethane (PE-PUR) sound abatement
        foam component in these devices. The majority of the affected devices within the
        advised 5-year service life are in the first-generation DreamStation product family.

        To date, Philips has produced millions of Bi-Level PAP, CPAP and mechanical
        ventilator devices using the PE-PUR sound abatement foam. Despite a low
        complaint rate (0.03% in 2020), Philips determined based on testing that there are
        possible risks to users related to this type of foam. The risks include that the PE-
        PUR foam may degrade into particles which may enter the device’s air pathway
        and be ingested or inhaled by the user, and the foam may off-gas certain chemicals.
        The foam degradation may be exacerbated by use of unapproved cleaning methods,




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        such as ozone,** and high heat and high humidity environments may also
        contribute to foam degradation.

        Therefore, Philips has decided to voluntarily issue a recall notification* to inform
        patients and customers of potential impacts on patient health and clinical use related
        to this issue, as well as instructions on actions to be taken.

        “We deeply regret any concern and inconvenience that patients using the affected
        devices will experience because of the proactive measures we are announcing today
        to ensure patient safety,” said Frans van Houten, CEO of Royal Philips. “In
        consultation with the relevant regulatory agencies and in close collaboration with
        our customers and partners, we are working hard towards a resolution, which
        includes the deployment of the updated instructions for use and a comprehensive
        repair and replacement program for the affected devices. Patient safety is at the
        heart of everything we do at Philips.”

        42.     The recall notifications identified the recalled devices and their associated injury

 risks. First, the recall notification for “Trilogy 100, Trilogy 200, Garbin Plus, Aeris, LifeVent,

 BiPAP V30, and BiPAP A30/A40 Series Device Models” stated, in relevant part:

        Philips Respironics is voluntarily recalling the below devices due to two (2) issues
        related to the polyester-based polyurethane (PE-PUR) sound abatement foam used
        in Philips Continuous and NonContinuous Ventilators: 1) PE-PUR foam may
        degrade into particles which may enter the device’s air pathway and be ingested or
        inhaled by the user, and 2) the PE-PUR foam may off-gas certain chemicals. The
        foam degradation may be exacerbated by use of unapproved cleaning methods,
        such as ozone (see FDA safety communication on use of Ozone cleaners), and off-
        gassing may occur during operation.

        These issues can result in serious injury which can be life-threatening, cause
        permanent impairment, and/or require medical intervention to preclude permanent
        impairment. To date, Philips Respironics has received several complaints regarding
        the presence of black debris/particles within the airpath circuit (extending from the
        device outlet, humidifier, tubing, and mask). Philips also has received reports of
        headache, upper airway irritation, cough, chest pressure and sinus infection. The
        potential risks of particulate exposure include: Irritation (skin, eye, and respiratory
        tract), inflammatory response, headache, asthma, adverse effects to other organs
        (e.g. kidneys and liver) and toxic carcinogenic affects. The potential risks of
        chemical exposure due to off-gassing include: headache/dizziness, irritation (eyes,
        nose, respiratory tract, skin), hypersensitivity, nausea/vomiting, toxic and
        carcinogenic effects. There have been no reports of death as a result of these issues.




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                           All Devices manufactured before 26 April 2021,
                                        All serial numbers
         Continuous Ventilator                        Trilogy 100
                                                      Trilogy 200
                                                      Garbin Plus, Aeris, LifeVent
         Continuous Ventilator, Minimum               A-Series BiPAP Hybrid A30 (not
         Ventilatory Support, Facility Use            marketed in US)
                                                      A-Series BiPAP V30 Auto
         Continuous Ventilator, Non-life              A-Series BiPAP A40
         Supporting                                   A-Series BiPAP A30

        43.     Second, the recall notification for “CPAP and Bi-Level PAP Devices” contained a

 substantively identical explanation of why the devices were being recalled, but added that “off-

 gassing may occur during operation and may possibly continue throughout the device’s useful

 life.” (Emphasis added.)      Further, the CPAP and Bi-Level PAP Devices recall notification

 identified the following devices as being recalled:

                           All Devices manufactured before 26 April 2021,
                                        All serial numbers
         Continuous Ventilator, Minimum               E30        (Emergency             Use
         Ventilatory Support, Facility Use            Authorization)
         Continuous Ventilator, Non-life              DreamStation ASV
         Supporting                                   DreamStation ST, AVAPS
                                                      SystemOne ASV4
                                                      C-Series ASV
                                                      C-Series S/T and AVAPS
                                                      OmniLab Advanced+
         Noncontinuous Ventilator                     SystemOne (Q-Series)
                                                      DreamStation
                                                      DreamStation Go
                                                      Dorma 400
                                                      Dorma 500
                                                      REMstar SE Auto

        44.     On this news, Philips’ stock price fell $2.25 per share, or 3.98%, to close at $54.25

 per share on June 14, 2021.




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         45.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

 significant losses and damages.

                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

         46.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

 acquired Philips securities during the Class Period (the “Class”); and were damaged upon the

 revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

 the officers and directors of the Company, at all relevant times, members of their immediate

 families and their legal representatives, heirs, successors or assigns and any entity in which

 Defendants have or had a controlling interest.

         47.     The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Philips securities were actively traded on the NYSE.

 While the exact number of Class members is unknown to Plaintiff at this time and can be

 ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

 thousands of members in the proposed Class. Record owners and other members of the Class may

 be identified from records maintained by Philips or its transfer agent and may be notified of the

 pendency of this action by mail, using the form of notice similar to that customarily used in

 securities class actions.

         48.     Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.




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        49.       Plaintiff will fairly and adequately protect the interests of the members of the Class

 and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

 no interests antagonistic to or in conflict with those of the Class.

        50.       Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

              •     whether the federal securities laws were violated by Defendants’ acts as alleged
                    herein;

              •     whether statements made by Defendants to the investing public during the Class
                    Period misrepresented material facts about the business, operations and
                    management of Philips;

              •     whether the Individual Defendants caused Philips to issue false and misleading
                    financial statements during the Class Period;

              •     whether Defendants acted knowingly or recklessly in issuing false and misleading
                    financial statements;

              •     whether the prices of Philips securities during the Class Period were artificially
                    inflated because of the Defendants’ conduct complained of herein; and

              •     whether the members of the Class have sustained damages and, if so, what is the
                    proper measure of damages.

        51.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation make it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

        52.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

 on-the-market doctrine in that:




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               •     Defendants made public misrepresentations or failed to disclose material facts
                     during the Class Period;

               •     the omissions and misrepresentations were material;

               •     Philips securities are traded in an efficient market;

               •     the Company’s shares were liquid and traded with moderate to heavy volume
                     during the Class Period;

               •     the Company traded on the NYSE and was covered by multiple analysts;

               •     the misrepresentations and omissions alleged would tend to induce a reasonable
                     investor to misjudge the value of the Company’s securities; and

               •     Plaintiff and members of the Class purchased, acquired and/or sold Philips
                     securities between the time the Defendants failed to disclose or misrepresented
                     material facts and the time the true facts were disclosed, without knowledge of
                     the omitted or misrepresented facts.

         53.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

 presumption of reliance upon the integrity of the market.

         54.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

 of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

 United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

 their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                                COUNT I

  (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

         55.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

 set forth herein.

         56.       This Count is asserted against Defendants and is based upon Section 10(b) of the

 Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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        57.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

 course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

 practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

 members of the Class; made various untrue statements of material facts and omitted to state

 material facts necessary in order to make the statements made, in light of the circumstances under

 which they were made, not misleading; and employed devices, schemes and artifices to defraud in

 connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

 the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

 as alleged herein; (ii) artificially inflate and maintain the market price of Philips securities; and

 (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Philips

 securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

 and course of conduct, Defendants, and each of them, took the actions set forth herein.

        58.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

 Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

 and annual reports, SEC filings, press releases and other statements and documents described

 above, including statements made to securities analysts and the media that were designed to

 influence the market for Philips securities. Such reports, filings, releases and statements were

 materially false and misleading in that they failed to disclose material adverse information and

 misrepresented the truth about Philips’ finances and business prospects.

        59.      By virtue of their positions at Philips, Defendants had actual knowledge of the

 materially false and misleading statements and material omissions alleged herein and intended

 thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

 acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose




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 such facts as would reveal the materially false and misleading nature of the statements made,

 although such facts were readily available to Defendants. Said acts and omissions of Defendants

 were committed willfully or with reckless disregard for the truth. In addition, each Defendant

 knew or recklessly disregarded that material facts were being misrepresented or omitted as

 described above.

         60.     Information showing that Defendants acted knowingly or with reckless disregard

 for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

 and/or directors of Philips, the Individual Defendants had knowledge of the details of Philips’

 internal affairs.

         61.     The Individual Defendants are liable both directly and indirectly for the wrongs

 complained of herein.      Because of their positions of control and authority, the Individual

 Defendants were able to and did, directly or indirectly, control the content of the statements of

 Philips. As officers and/or directors of a publicly-held company, the Individual Defendants had a

 duty to disseminate timely, accurate, and truthful information with respect to Philips’ businesses,

 operations, future financial condition and future prospects. As a result of the dissemination of the

 aforementioned false and misleading reports, releases and public statements, the market price of

 Philips securities was artificially inflated throughout the Class Period. In ignorance of the adverse

 facts concerning Philips’ business and financial condition which were concealed by Defendants,

 Plaintiff and the other members of the Class purchased or otherwise acquired Philips securities at

 artificially inflated prices and relied upon the price of the securities, the integrity of the market for

 the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

         62.     During the Class Period, Philips securities were traded on an active and efficient

 market. Plaintiff and the other members of the Class, relying on the materially false and misleading




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 statements described herein, which the Defendants made, issued or caused to be disseminated, or

 relying upon the integrity of the market, purchased or otherwise acquired shares of Philips

 securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

 other members of the Class known the truth, they would not have purchased or otherwise acquired

 said securities, or would not have purchased or otherwise acquired them at the inflated prices that

 were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

 value of Philips securities was substantially lower than the prices paid by Plaintiff and the other

 members of the Class. The market price of Philips securities declined sharply upon public

 disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

           63.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

 directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

 promulgated thereunder.

           64.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

 other members of the Class suffered damages in connection with their respective purchases,

 acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

 that the Company had been disseminating misrepresented financial statements to the investing

 public.

                                             COUNT II

     (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

           65.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

           66.   During the Class Period, the Individual Defendants participated in the operation

 and management of Philips, and conducted and participated, directly and indirectly, in the conduct




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 of Philips’ business affairs. Because of their senior positions, they knew the adverse non-public

 information about Philips’ misstatement of income and expenses and false financial statements.

        67.     As officers and/or directors of a publicly owned company, the Individual

 Defendants had a duty to disseminate accurate and truthful information with respect to Philips’

 financial condition and results of operations, and to correct promptly any public statements issued

 by Philips which had become materially false or misleading.

        68.     Because of their positions of control and authority as senior officers, the Individual

 Defendants were able to, and did, control the contents of the various reports, press releases and

 public filings which Philips disseminated in the marketplace during the Class Period concerning

 Philips’ results of operations. Throughout the Class Period, the Individual Defendants exercised

 their power and authority to cause Philips to engage in the wrongful acts complained of herein.

 The Individual Defendants, therefore, were “controlling persons” of Philips within the meaning of

 Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

 alleged which artificially inflated the market price of Philips securities.

        69.     Each of the Individual Defendants, therefore, acted as a controlling person of

 Philips. By reason of their senior management positions and/or being directors of Philips, each of

 the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

 Philips to engage in the unlawful acts and conduct complained of herein. Each of the Individual

 Defendants exercised control over the general operations of Philips and possessed the power to

 control the specific activities which comprise the primary violations about which Plaintiff and the

 other members of the Class complain.

        70.     By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by Philips.




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                                     PRAYER FOR RELIEF

 WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.      Determining that the instant action may be maintained as a class action under Rule

 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

        B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

 of the acts and transactions alleged herein;

        C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

 judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

        D.      Awarding such other and further relief as this Court may deem just and proper.

                                DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.

 Dated: August 16, 2021                                  Respectfully submitted,

                                                         POMERANTZ LLP

                                                         /s/ Jeremy A. Lieberman
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                                                         Attorneys for Plaintiff




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                                 CERTIFICATION PURSUANT
                               TO FEDERAL SECURITIES LAWS


        1.          Subhash Patel
                I, __________________________________________, make this declaration

 pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private

 Securities Litigation Reform Act of 1995.

        2.      I have reviewed a Complaint against Koninklijke Philips N.V. (“Philips” or the

 “Company”) and authorize the filing of a comparable complaint on my behalf.

        3.      I did not purchase or acquire Philips securities at the direction of plaintiffs’ counsel

 or in order to participate in any private action arising under the Securities Act or Exchange Act.

        4.      I am willing to serve as a representative party on behalf of a Class of investors who

 purchased or otherwise acquired Philips securities during the class period, including providing

 testimony at deposition and trial, if necessary. I understand that the Court has the authority to

 select the most adequate lead plaintiff in this action.

        5.      The attached sheet lists all of my transactions in Philips securities during the Class

 Period as specified in the Complaint.

        6.      During the three-year period preceding the date on which this Certification is

 signed, I have not served or sought to serve as a representative party on behalf of a class under the

 federal securities laws.

        7.      I agree not to accept any payment for serving as a representative party on behalf of

 the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

 reasonable costs and expenses directly relating to the representation of the class as ordered or

 approved by the Court.
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       8.    I declare under penalty of perjury that the foregoing is true and correct.




          August 8th 2021
 Executed _____________________________
              (Date)



                                            _______________________________________
                                                  (Signature)


                                            Subhash Patel
                                            _______________________________________
                                                  (Type or Print Name)
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  Koninklijke Philips N.V. (PHG)                                                Patel, Subhash

                                            List of Purchases and Sales

       Transaction                                          Number of      Price Per
          Type                     Date                     Shares/Unit   Share/Unit

        Purchase               11/30/2020                       50        $51.8342
